286 F.2d 638
    Majorie Atkinson MANUES, in her own behalf and for and inbehalf of her two minor children, Steve AnthonyManues and Marjorie D. Manues, Appellant,v.SHIPS AND POWER, INC., and Indemnity Insurance Company ofNorth America, Appellees.
    No. 18436.
    United States Court of Appeals Fifth Circuit.
    Feb. 9, 1961.
    
      Alfred C. Kammer, New Orleans, La., for appellant.
      H. Martin Hunley, Jr., Lemle &amp; Kelleher, New Orleans, La., for defendants-appellees.
      Before TUTTLE, Chief Judge, JONES, Circuit Judge, and MIZE, District judge.
      PER CURIAM.
    
    
      1
      In this case, a claim for benefits was asserted under the Louisiana Workmen's Compensation Statute, LSA-R.S. 23:1021 et seq., for the death of an employee of the appellee, Ships and Power, Inc.  The district court held that the evidence did not show that the employee's death arose out of and in the course of his employment.  The questions presented and the disposition of them by the district court appear in its opinion reported at 180 F.Supp. 850.  We find no error in the decision of the district court and its judgment is
    
    
      2
      Affirmed.
    
    